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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

ROBERT T. BROCKMAN,                §
                                   §
          Plaintiff,               §
                                   §
          v.                       §     Civil Action No. 4:22-cv-00202-GCH
                                   §
UNITED STATES OF AMERICA,          §
                                   §
          Defendant.               §


PLAINTIFF’S SECOND SUPPLEMENTAL MEMORANDUM (1) IN SUPPORT OF
MOTION FOR DETERMINATION ON COMPLAINT FOR JUDICIAL REVIEW
AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY OR
      (2) IN THE ALTERNATIVE, FOR A STAY OF IRS COLLECTION


      Expedited Time Limits Apply By Statute – See 26 U.S.C. § 7429(b)(3)
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                                      INTRODUCTION
       The sole issue in this matter is whether the government can prove that Robert T.

Brockman is “designing quickly” to move assets outside of the reach of the government,

rendering them unavailable for collection should the government someday establish that he

failed to report all of his income.

       As detailed more fully in prior filings, BCT Limited (“BCT”), the trustee of the A.

Eugene Brockman Charitable Trust (“AEBCT”), made a proposal to the Internal Revenue

Service to place $1.45 billion in an account or accounts in the United States to be available

for any liability determined to be owed by Mr. Brockman upon either the settlement or final

appeal of the Tax Court case. Dkt. No. 38-1, Ex. A; see also No. 38 at 1–5. The

government declined to consider this proposal, see Dkt. No. 42 at 1–2 and Attach. A, and

argued that this Court should ignore its existence. Compare Dkt. No. 39 at 1–6, with Dkt.

No. 41 at 6–12.

       During the conference held on June 28, 2022, the Court requested supplemental

briefing as to status of BCT’s efforts to secure Mr. Brockman’s potential tax liability until

the pending Tax Court matter is fully resolved. Prior to and at the time of the conference,

counsel for BCT was seeking to post a bond or obtain a letter of credit through the use of

funds held in Switzerland by Mirabaud & Cie SA (“Mirabaud”) in the bank account of

Spanish Steps Holdings Ltd. (“SSHL”), which is wholly owned by AEBCT. Srere Decl. ¶¶

2–3. To this end, SSHL’s Swiss counsel had engaged in multiple discussions with

Mirabaud concerning the documentation that Mirabaud would require, and the terms of the


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proposed transaction. Srere Decl. ¶ 5. Then on Friday, July 8, 2022, Mirabaud for the first

time informed SSHL’s Swiss counsel that a freeze had been placed on SSHL’s Mirabaud

account by a prosecutor in Geneva in October 2020, information that SSHL’s Swiss

counsel promptly reported to BCT’s U.S. counsel. Srere Decl. ¶¶ 6–7. SSHL’s Swiss and

BCT’s U.S. counsel are now engaged in efforts to determine whether a portion or all of the

funds in SSHL’s account at Mirabaud may nonetheless be used to secure payment of any

tax liability that is ultimately found to be due from Mr. Brockman. Srere Decl. ¶ 8. In

short, BCT’s efforts to use the funds in SSHL’s Mirabaud account to post a bond with or

provide a letter of credit to the IRS are very much in a state of flux, and likely will be the

subject of further updates to the Court.

       It is Mr. Brockman’s position that, even without regard to the issue of whether and

when a bond or letter of credit may be provided by BCT or SSHL, the jeopardy assessment

against Mr. Brockman should be abated and the jeopardy levy should be released. First,

there is no jeopardy: the government’s core contention is that Mr. Brockman is the true

owner of the assets of AEBCT, which includes the Reynolds & Reynolds Company

(“Reynolds”), an Ohio company valued in excess of $5 billion that has operations in

Houston, Texas. Dkt. Nos. 10 at 4, 19; 35 at 3, 24–25; 35-1, Ex. 4 at 2; 38 at 3. Second,

and as fundamental, the government has not met its burden of showing that Mr. Brockman

is “designing quickly” to put assets outside the reach of the government. Dkt. Nos. 10 at

5–24; 35 at 1–3; 41 at 1–5.

       Mr. Brockman also notes that, to the extent that significant developments

concerning BCT’s and/or SSHL’s ability to post a bond or provide a letter of credit may
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take place over the next several weeks, it may be important for the Court to allow further

supplemental briefing or status reports on this issue before conducting a hearing or making

a determination on the pending motion.

                                SUPPLEMENTAL FACTS

       The government has contended, in prior filings and during the June 28, 2022

conference, that BCT may not be able to post a bond or provide a letter of credit because

BCT’s “proposal . . . appears to require the release of funds frozen in Swiss accounts by the

Swiss authorities, who may have its own claim to the funds.” Dkt. No. 39 at 4. The

government never provided documentation of this contention, and counsel for Mr.

Brockman responded that neither they nor counsel for BCT were aware of any freeze by

Swiss authorities on SSHL’s Mirabaud account. Dkt. No. 41 at 10–11.

       On Friday, July 8, 2022, counsel for BCT informed counsel for Mr. Brockman that

they had learned that day that the Public Prosecutor’s Office of the Canton of Geneva (the

“Geneva prosecutor”) had in fact placed an order of attachment—in effect, a freeze—on the

account on October 28, 2020, shortly after the indictment of Mr. Brockman in United

States v. Brockman, Cr. No. 4:21-cr-0009-GCH (S.D. Tex.). Swiss counsel for SSHL had

also learned of the freeze for the first time on July 8, 2022, in a call and subsequent

correspondence with Mirabaud.1 Srere Decl. ¶ 6 and Ex. A.




1
 Copies of a certified translation and French-language letter from Mirabaud on July 8,
2022 to SSHL’s Swiss counsel, providing a redacted copy of the Geneva prosecutor’s
October 28, 2020 attachment order, are submitted as Ex. A to the Declaration of Mark A.
Srere (“Srere Decl.”).
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       The government contends that AEBCT is a sham, and that Mr. Brockman is the true

owner of its assets, including Reynolds. Dkt. Nos. 10, Ex 3 at 43–52; 21 at 8–30. Mr.

Brockman denies these allegations. From the outset of the jeopardy assessment

proceedings before the IRS, Mr. Brockman has also pointed to the obvious fact that, under

the government’s theory, collection of any potential tax liability is not in jeopardy because

Reynolds, an asset that the government contends is owned by Mr. Brockman, is located in

the United States and valued well in excess of the purported liability assessed against Mr.

Brockman. See, e.g., Dkt. Nos. 10 at 4, 19; 35 at 3, 24-25, Ex. 4 at 2; 38 at 3.

       From BCT’s perspective as the trustee of AEBCT, these contentions—the

government’s assertion that Mr. Brockman owns Reynolds, and Mr. Brockman’s response

that, based on the government’s position, no jeopardy can exist—pose a direct threat to

AEBCT’s most valuable asset, and have had an immediate and on-going impact on

AEBCT. In the March 15, 2022 letter to the IRS in which BCT first raised the issue of

using the funds in SSHL’s Mirabaud account to ensure payment of any tax determined to

be due against Mr. Brockman, BCT’s counsel set out that BCT made this proposal to

protect the interests of AEBCT and to address the impact that the pendency of the jeopardy

assessment and jeopardy levy has had on the operations and charitable programs of the

AEBCT. Dkt. No. 38-1, Ex. A at 1–2. According to BCT in the March 15, 2022 letter to

the IRS, “the jeopardy assessment and related allegations have created a great deal of

uncertainty about the Trust’s substantial shareholding in [Reynolds ] . . . , an operating

company based in the United States that employs more than 4,400 people and [is] currently

worth in excess of $5 billion, and the annual dividend distributions attached to that
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shareholding.” Dkt. 38-1, Ex. A at 1-2. BCT’s letter also stated that the jeopardy

assessment has given rise to “uncertainty with finding financial institutions willing to

maintain custody of significant assets of the Trust,” disrupting “the Trust’s ability to meet

existing charitable commitments and expand future charitable giving.” Dkt. 38-1, Ex. A at

2.

       The IRS flatly refused to consider BCT’s March 15, 2022 proposal. Dkt. No. 42 at

1–2; Srere Decl. ¶ 4. Subsequently, BCT’s counsel engaged in further correspondence and

discussion with the IRS to determine what may satisfy the IRS as a means to secure

payment of any tax liability determined to be due, and to allow for release of the jeopardy

assessment. Srere Decl. ¶ 4. As part of these efforts, SSHL’s Swiss counsel also engaged

in several discussions with Mirabaud concerning the possible manner in which the IRS’s

requirements may be met. Srere Decl. ¶ 5.

       At no time prior to last Friday, July 8, did anyone at Mirabaud inform counsel for

SSHL that the Geneva prosecutor had implemented a freeze on the account. Srere Decl. ¶

6. Throughout, Mirabaud had multiple discussions with Swiss counsel for SSHL

concerning BCT’s access to the funds. Specifically, as discussed in earlier filings, there

had been litigation in the Bermuda courts to determine the appointment of a trustee for

AEBCT. Dkt. Nos. 10 at 12–16; 35 at 11–14, Ex. 4 at 8–11. This litigation was resolved

in a series of decisions by the Bermuda courts that appointed BCT as trustee in 2021. Dkt.

Nos. 10 at 12–16; 35 at 11–14. Mirabaud took the position that, before recognizing and

taking direction from SSHL, it needed the decisions reduced to an order by the Bermuda

court, which has recently been done, and that the Bermuda court order would need to be
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domesticated as an order by the Swiss court, which is in the process of being addressed.

Mirabaud was made fully aware that the purpose of BCT’s efforts was to make the funds in

SSHL’s Mirabaud account available to secure payment of any potential tax liability

determined against Mr. Brockman. Srere Decl. ¶ 5.

          Since learning on Friday of the implementation of a freeze by the Geneva

prosecutor, BCT’s counsel and Swiss counsel for SSHL have undertaken to determine the

extent to which a portion or all of the funds in SSHL’s Mirabaud account may nonetheless

still be used to secure payment of any potential tax liability determined against Mr.

Brockman. Srere Decl. ¶ 8. It is both premature, and not Mr. Brockman’s place, to

comment on the potential options that may be available to BCT. It is fair to say, however,

that BCT is continuing in its efforts. See Srere Decl. ¶ 8.

          For this reason, Mr. Brockman recognizes that there may be a need to ask the Court

for an additional opportunity to supplement the record, and to allow for more time to see

how the circumstances evolve. Dkt. No. 38 at 7–10.

                                          ARGUMENT

I.        The IRS Has Never Had Any Valid Basis For The Jeopardy Assessment And
          Jeopardy Levy.

          Whether Mr. Brockman owes any additional taxes is not before this Court. That

issue will be decided by the United States Tax Court in Brockman v. Comm’r, No. 764-22

(T.C.).

          Rather, as the government does not dispute, the sole issue before this Court is

whether the collection of any tax liability subsequently determined against Mr. Brockman


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will be jeopardized by delay. See Dkt. Nos. 10 at 2, 23; 21 at 47–49; 35 at 1, 5–6. The

burden is on the government to prove that the IRS’s collection activities, which are based

on a jeopardy assessment and jeopardy levy, are reasonable. See IRC § 7429(g)(1). To

prevail, the government must show that the IRS is reasonable in its view that Mr.

Brockman “is or appears to be designing quickly to place . . . property beyond the reach of

the Government.” See Treas. Reg. § 1.6851-1(a)(1)(ii); Dkt. Nos. 10 at 2; 35 at 1, 4–5.

       There is and never was any evidence to support the IRS’s contention that Mr.

Brockman is or was “designing quickly” to place assets beyond the reach of the

government. Instead, the government has relied on baseless conjecture, in the absence of

evidence, to grab Mr. Brockman’s bank accounts and his retirement pay, to place liens on

his properties and the properties of others, and even to empty his wife’s bank accounts. At

the same time, the government has repeatedly asked this Court to ignore that, if the

government’s position as to Mr. Brockman’s tax liability is correct, there are available

assets in the United States that far exceed the purported tax liability.

       A.     The Government Wants This Court To Ignore The Existence Of Assets
              From Which Any Potential Tax Liability Could Be Fully Recovered.

       It has always been disingenuous for the government to have contended that

collection of any tax that may be found to be due and owing has ever been in jeopardy.

       The government nowhere disputes that, under the IRS’s theory of liability, Mr.

Brockman is the indirect owner of Reynolds, a U.S. company the value of which

significantly exceeds the purported tax liability against Mr. Brockman. See Dkt. Nos. 10 at

4; 35 at 24–25; 41 at 5–6. Moreover, the government has never contended that any action


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has occurred to conceal, dissipate, transfer, or diminish the value of Reynolds. See Dkt.

Nos. 10 at 4, 19; 35 at 24–25; 41 at 5–6; see, e.g., Fumo v. United States, No. 13-3313,

2014 U.S. Dist. LEXIS 77082, at *97 (E.D. Pa. June 5, 2014) (rejecting a finding of

jeopardy when there are sufficient assets “to pay the assessed taxes if the Tax Court

ultimately finds them due and owing”).

       B.     The Government’s Allegations That Mr. Brockman Was “Designing
              Quickly” To Dissipate Assets Are Wholly Baseless.

       Mr. Brockman’s prior filings have established that the IRS has never had any valid

basis to support its jeopardy assessment and jeopardy levy against him. To summarize:

       •      The government cited to Dorothy Brockman’s three routine and public real

estate transactions, and the public listing of a fourth property for sale—all done in

preparation for her life after her husband’s death—baselessly to contend that Mr.

Brockman was somehow dissipating assets. The government offers zero evidence of any

attempt to dissipate or otherwise move the proceeds from these transactions outside the

reach of the government. See Dkt. Nos. 10 at 2–3, 5–12; 35 at 6–11; 41 at 3; see also

Fumo, 2014 U.S. Dist. LEXIS 77082, at *86–87 (abating jeopardy assessments when the

IRS was able to “trace Plaintiff’s real property transfers using only public databases and

public records”).

       •      The government incorrectly described Bermuda legal proceedings, see, e.g.,

Dkt. No. 10 at 12–16; compare Dkt. No. 21 at 72, with Dkt. No. 21, Gov’t Ex. 5 (cited in

Dkt. No. 21 at 72 n.292); see also Dkt. No. 35-1, Ex. 2 at 7, ¶ 27(2); ignored decisions by

Bermuda courts, see, e.g., Dkt. Nos. 10 at 12–16; 10-1, Ex. 16 at ¶¶ 4, 23–25, 59; 10-1, Ex.


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17 at 2 (preamble) and ¶ 2; mischaracterized and misstated actions by Dorothy Brockman,

compare Dkt. No. 21 at 71, with Dkt. No. 21, Gov’t Ex. 26 at ¶¶ 9, 13 (cited in Dkt. No. 21

at 71 n.289); and in effect misrepresented the import of those proceedings, which have no

bearing on whether Mr. Brockman had been “designing quickly” to move assets. See Dkt.

No. 10 at 23–24; No. 35 at 18–24; No. 41 at 3–5; see also Burd v. United States, 774 F.

Supp. 903, 907 (D.N.J. 1991) (abating jeopardy assessment on finding that “[i]f the IRS

had conducted a simple investigation there would have been absolutely no basis for the

jeopardy assessment”).

       •      The government was compelled to file a Notice of Correction acknowledging

that the single allegation of recent activity that was referenced in its nearly 44-page

summary of the criminal investigation was false. Dkt. No. 34; cf. Dkt. No. 21 at 7–47, 59–

63; see also Dkt. Nos. 35 at 14–16; 41 at 4; Fumo, 2014 U.S. Dist. LEXIS 77082, at *77

and *87 n.18 (finding that actions must “actually [be] occurring quickly” and that “prior

illegal activity . . . is not adequate to show that a taxpayer is or appears to be designing

quickly to place assets beyond the reach of the government”).

       •      The government bizarrely contended that Mr. Brockman was concealing his

activities based on information that the IRS learned from disclosures to the IRS made by or

on behalf of the Brockmans. Compare Dkt. No. 10 at 5–12, 23–24, with Dkt. Nos. 35 at

18–24; 41 at 4–5; see Fumo, 2014 U.S. Dist. LEXIS 77082, at *64 (“Filing forms with the

IRS concerning [transfers of] particular properties undermines any notion of a plan to hide

assets from . . . the IRS.”) (internal quotations omitted); Lindholm v. United States, 808 F.

Supp. 3, 6 (D.D.C. 1992) (rejecting jeopardy and concluding that “despite the complexity
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with which plaintiff arranged his assets, he apparently did not ‘hide’ them”). See generally

IRC § 7429.

       In sum, the government’s arguments are nothing more than an empty grab-bag of

baseless allegations.

II.    This Court Should Stay Collection Actions By The IRS.

       IRC § 7429(b) provides this Court “broad discretion” in reviewing jeopardy

assessment cases, allowing the Court to abate the jeopardy assessment, release the jeopardy

levy, or “take such other action as the court finds appropriate.” Mrs. Phil. Home for Senior

Citizens, Inc. v. United States, No. 93-2355, 1993 U.S. Dist. LEXIS 19501, *17–18 (D.

Md. 1993); IRC § 7429(b)(4). “It is quite consistent with the purpose of § 7429, which

provided judicial review for I.R.S. jeopardy assessments, for Congress to have granted the

district courts the ability to check the virtually unfettered power of the I.R.S. to cause

severe hardships, even economic destruction, to taxpayers prior to a resolution of the

existence, and extent, of any tax liability.” Mrs. Phil. Home for Senior Citizens, 1993 U.S.

Dist. LEXIS 19501, at *18–19. Thus, for example, in DeLauri v. United States, 492 F.

Supp. 442, 446 (W.D. Tex. 1980), the District Court allowed the IRS to maintain tax liens

but enjoined enforcement pending resolution of the taxpayer's liability by the Tax Court,

concluding that “the Government's legitimate interest in collecting its revenues must be

balanced against the taxpayer's need to continue legitimate business operations.”

       Not only is there a dearth of evidence that Mr. Brockman is “designing quickly” to

move assets beyond the reach of the government, it is beyond the pale to suggest that he

will undertake such action during the pendency of this motion. Mr. Brockman is bedridden
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and in home hospice care. Simply put, he is dying. See Walker v. United States, 650 F.

Supp. 877, 885 (E.D. Tenn. 1987) (abating jeopardy assessment when the taxpayer was “in

a questionable mental and physical state as far as his ability to dissipate assets was

concerned.”).

       Recognizing the inevitable course of Mr. Brockman’s illness, his wife Dorothy

made the decision for them to move to a smaller, less expensive home closer to her son and

his growing family. She is seeking to sell their former home, which has belonged solely to

her for 25 years. She should not be put in the position of taking that step only to have the

government take the proceeds of the sale. Similarly, the main source of income for the

Brockmans prior to the issuance of the jeopardy assessment was Mr. Brockman’s

retirement pay from Reynolds. Today, those payments are being made directly to the

government. A stay pending the resolution of this motion would make these funds

available to Mrs. Brockman during what is without question a challenging time.

       Dorothy Brockman’s house, the retirement payments, and all of the other bank

accounts and properties that have been seized or liened by the government are the proceeds

of earnings by the Brockmans in the United States. There is no allegation that Mr.

Brockman failed to pay taxes on his U.S. income, nor has there ever been any allegation of

any wrongdoing whatsoever by Dorothy Brockman, who has filed separate tax returns for

decades.

       Moreover, even if the government seizes every last penny from the Brockmans, the

total will come nowhere close to the alleged tax liability. If the government proves its case

against Mr. Brockman, however, the value of Reynolds alone—a company based in
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Houston and Ohio—is sufficient to cover the full amount and more. Further, it is the

Mirabaud account, and not the personal accounts and properties of the Brockmans, that

hold funds as to which the government contends taxes were not paid. At a certain point—

and we are there—the jeopardy assessment and jeopardy levy serve only to punish Mr.

Brockman and his wife, and do nothing to address any valid government interest.

      At a minimum, we respectfully ask that this Court stay collection during the

pendency of the motion to abate the jeopardy assessment and release the jeopardy levy.

                                     CONCLUSION

      For the foregoing reasons, and for the reasons set forth in Mr. Brockman’s previous

filings, the jeopardy assessment should be abated and the jeopardy levy should be released.

In the alternative, and at a minimum, IRS collection actions should be stayed.


Dated: July 15, 2022                         /s/ Jason S. Varnado
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                              CERTIFICATE OF SERVICE

       I certify that on the 15th day of July, 2022, I electronically served this document on

all counsel of record.


                                                        /s/ Michael J. Scarduzio s
                                                        Michael J. Scarduzio




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